                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DMSION
                                No. 5:21-HC-02239-M

CLIFTON WILLIAM BATIS,                                 )
                                                       )
                               Petitioner,             )
                                                       )
                       V.                              )               ORDER
                                                       )
STATE OF NORTH CAROLINA,                               )
                                                       )
                               Respondent.             )



       On January 6, 2023, the court, inter alia, dismissed petitioner' s habeas petition. Order

[D.E. 69]. On January 19, 2023, petitioner filed the instant motion for a certificate of appealability

essentially reiterating the claims in his petition, Mot. [D.E. 71 ], and a notice of appeal [D.E. 72].

       A certificate of appealability may issue only upon a "substantial showing of the denial of

a constitutional right." 28 U.S.C. § 2253(c)(2). The petitioner must show that reasonable jurists

could debate whether the issue should have been decided differently or show that the issue is

adequate to deserve encouragement to proceed further. Miller-El v. Cockrell, 537 U.S. 322, 336-

38 (2003); Slack v. McDaniel, 529 U.S . 473 , 483- 84 (2000) .

       The court already denied a certificate of appealability when it dismissed the petition, Order

[D.E. 69] at 28, and petitioner has not shown any reason to reconsider the court' s finding that a

certificate of appealability is unwarranted, see Fed. R. Civ. P. 59(e); Zinkand v. Brown, 478 F.3d

634, 637 (4th Cir. 2007). Thus, the court DENIES the instant motion [D.E. 71] for lack of merit.
                                   ~
        SO ORDERED. This '2i) dayofJanuary2023 . ~ } [                             M'f-'-11.S~
                                                               RICHARD E. MYERS II
                                                               Chief United States District Judge




            Case 5:21-hc-02239-M Document 74 Filed 01/20/23 Page 1 of 1
